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 4
     Attorney for Defendant
 5
     ELISABET PEREZ
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT

 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                              SACRAMENTO DIVISION

10

11
     UNITED STATES OF AMERICA,                        ) Case No. 2:14-CR-0326 JAM
                                                      )
12
                                      Plaintiff,      )
                                                      )
13
             vs.                                      ) AMENDED STIPULATION AND
                                                      ) ORDER TO CONTINUE STATUS
14
                                                      ) CONFERENCE
                                                      )
15
     RIGOBERTO CECENA,                                )
     ELISABET PEREZ, YUSEN                            )
16
     VALENZUELA-HERRERA,                              )
                                                      )
17
                                      Defendants.     )

18

19                     IT IS HEREBY STIPULATED by and between the parties, the UNITED

20   STATES OF AMERICA, through undersigned counsel, Josh Sigal, Assistant United

21   States Attorney, and Michael Petrik, attorney for Rigoberto Cecena, Jennifer C. Noble,

22   attorney for Elisabet Perez, and Dina Santos, attorney for Yusen Valenzuela-Herrera,

23   that the status conference presently set for October 27, 2015, be continued to November

24   3, 2015, at 9:15 a.m., thus vacating the presently set status conference.

25            The parties need additional time to continue to negotiate potential resolutions to

26   the case, and defense counsel require additional time to consult with their clients,

27   conduct investigation and research, review discovery and identify potential defenses.

28            Therefore, counsel for the parties stipulate and agree that the interests of justice

                                                       1
     Stipulation and Proposed Order                                       Case No. 2:14-CR-0326 JAM
     To Continue Status Conference
        Case 2:14-cr-00326-JAM Document 42 Filed 10/23/15 Page 2 of 3


 1   served by granting this continuance outweigh the best interests of the defendants and
 2   the public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of
 3   counsel/reasonable time for effective preparation) and Local Code T4, and agree to
 4   exclude time from the date of the filing of the order until the date of the status
 5   conference, November 3, 2015.
 6

 7   IT IS SO STIPULATED.
 8

 9
     Dated: October 21, 2015                           By: /s/ Jennifer C. Noble
10
                                                       JENNIFER C. NOBLE
11                                                     WISEMAN LAW GROUP
                                                       Attorney for Defendant
12                                                     ELISABET PEREZ
13
     Dated: October 21, 2015                           By: /s/ Michael Petrik
14                                                     Michael Petrik , Jr
                                                       Attorney for Defendant
15                                                     RIGOBERTO CECENA
16
     Dated: October 21, 2015                           By: /s/ Dina Lee Santos
17                                                     Dina Lee Santos
                                                       Attorney for Defendant
18                                                     YUSEN VALENZUELA-HERRERA
19
     Dated: October 21, 2015                           BENJAMIN B. WAGNER
20                                                     United States Attorney

21                                                     By: /s/ JOSH F. SIGAL
                                                       JOSH F. SIGAL
22
                                                       Assistant United States Attorney
23

24

25
                                              ORDER
26
              GOOD CAUSE APPEARING, it is hereby ordered that the that the status
27
     conference presently set for October 27, 2015, be continued to November 3, 2015, at 9:15
28
     a.m., thus vacating the presently set status conference.
                                                   2
     Stipulation and Proposed Order                                     Case No. 2:14-CR-0326 JAM
     To Continue Status Conference
        Case 2:14-cr-00326-JAM Document 42 Filed 10/23/15 Page 3 of 3


 1

 2   IT IS SO ORDERED.
 3
     Dated: 10/23/2015                   /s/ John A. Mendez___________
 4
                                         HON. JOHN A. MENDEZ
 5                                       United States District Court Judge

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     Stipulation and Proposed Order                           Case No. 2:14-CR-0326 JAM
     To Continue Status Conference
